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                                                        MATTHEW L. SCHWARTZ
                                                        Tel.: (212) 303-3646
                                                        E-mail: mlschwartz@bsfllp.com

                                                        March 5, 2018
                                        The Court thanks Plaintiffs for the update. Plaintiffs shall update the Court
 BY ECF
                                        on the earlier of May 5, 2018 or the date they receive a response from the
                                        prosecutor's office. 3-6-18.
 Honorable Katharine H. Parker
 United States Magistrate Judge
 Southern District of New York
 500 Pearl Street, Suite 1950
 New York, New York 10007
        Re:     City of Almaty, Kazakhstan, et ano. v. Mukhtar Ablyazov, et al.,
                Case No. 15 Civ. 5345 (AJN) (KHP)
 Dear Judge Parker:
        We represent the City of Almaty, Kazakhstan and BTA Bank (“the Kazakh Entities”),
 and write pursuant to the Court’s Order of February 2, 2018 [ECF No. 543], in connection with
 Triadou SPV S.A.’s motion to compel dated December 7, 2017. [ECF No. 492].
          In accordance with the Court’s Order of January 10, 2018, the Kazakh Entities invoked
 their rights as crime victims under Kazakh law to request certain documents from the Republic
 of Kazakhstan’s Anti-Corruption Bureau (formerly known as the Financial Police). On February
 2, 2018, the parties provided to the Court a copy of the Anti-Corruption Bureau’s initial response
 to that request, which stated that “pre-trial investigation data can be made public only with the
 permission of the prosecutor,” and that a “final response to [the Kazakh Entities’ request] will be
 submitted after the approval of this issue with the prosecutor's office.” [ECF No. 542].
         The parties also committed to update the Court on any further developments within 30
 days, and at this time, the Kazakh Entities have not received any update from the Anti-
 Corruption Bureau regarding their request. The Kazakh Entities propose to update the Court on
 this issue when any update from the Anti-Corruption Bureau is received.1
                                                        Respectfully,
                                                         /s/ Matthew L. Schwartz
                                                        Matthew L. Schwartz




        1
           Triadou proposed that the parties provide the Court with a status update on this issue in
 30 days, which is what the parties proposed in their first status report and what the Court ordered
 in its Memo Endorsement in response to that status report. [ECF No. 543]. The Kazakh Entities,
 however, believe that Triadou’s proposed schedule is unnecessary; the Anti-Corruption Bureau
 stated in its initial response that this matter had been referred to the General Prosecutor’s Office
 and that the Anti-Corruption Bureau was still awaiting a decision (id., at 3), so monthly updates
 from the parties before they receive any further response from the Anti-Corruption Bureau would
 simply expand the docket to no benefit.
